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          UNITED STATES DISTRICT COURT
_________ District of Kansas _________

UNITED STATES OF AMERICA,

                     Plaintiff,

             v.                                 Case No. 22-MJ-8225-01-TJJ

MOHAMMAD RAFI MOHAMMAD!,

                    Defendant.



                          CRIMINAL COMPLAINT




      I, Ryan T. Blay, the undersigned complainant, being duly sworn, state that the

following is true and correct to the best of my knowledge and belief, and establishes

probable cause that the following offense has been committed:

                                    COUNT ONE
                                  18 U.S.C. § 1001(a)(2)
                                   (False Statements)


       On or about August 12, 2019, in the District of Kansas, the defendant,

                        MOHAMMAD RAFI MOHAMMAD!,


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willfully and knowingly made a materially false, fictitious, and fraudulent statement and

representation in a matter within the jurisdiction of the executive branch of the Government

of the United States, by making a false statement to the United States Department of

Defense when applying for a security clearance as a contract linguist on the "Questionnaire

for National Security Positions."         Specifically, Mr. Mohammadi denied "EVER

associat[ing] with anyone involved in activities to further terrorism." The statement and

representation was false because Mr. Mohammadi associated with at least two individuals

"involved in activities to further terrorism."

       This was in violation of Title 18, United States Code, Section IOOI(a)(2).



       I am a Special Agent of the Federal Bureau oflnvestigation and have been so

employed for the past thirteen years. I am currently assigned to the Kansas City Field

Office. In my official capacity, I have been investigating federal violations for the past

thirteen years. This Complaint is based on the following facts known to me as a result of

my personal participation in this investigation, and from reports made to me by other law

enforcement agents or officers.

       1.      The Kansas City FBI Field Office began investigating Mohammad Rafi

Mohammadi after receiving information concerning his interactions with known

members of ISIS-K, a "Foreign Terrorist Organization."      I




       I  On or about October 15, 2004, the United States Secretary of State designated al Qaeda
in Iraq ("AQI"), then known as Jam'at al Tawhid wa'al-Jihad, as a Foreign Terrorist
Organization ("FTO") under Section 219 of the Immigration and Nationality Act (the "INA")
and as a Specially Designated Global Terrorist under section 1(b) of Executive Order 13224. On

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       2.      The investigation revealed that when Mr. Mohammadi completed and

submitted the "Questionnaire for National Security Positions" through the "Electronic

Questionnaire for Investigative Processing" form on August 12,2019, for a security

clearance as a contract linguist with the United States Department of Defense, he

answered a question falsely.

       3.      For the question on that "e-QIP" form, "Have you EVER associated with

anyone involved in activities to further terrorism," Mr. Mohammadi answered, "No."2

The e-QIP form warns of "Penalties for Inaccurate of False Statements" as "The U.S.

Criminal Code (title 18, section 1001) provides that knowingly falsifying or concealing a

material fact is a felony which may result in fines and/or up to five (5) years

imprisonment." The e-QIP form included a "Statement of Understanding," providing "I



or about May IS, 2014, the Secretary of State amended the designation of AQI as an FTO under
Section 219 of the INA and as a Specially Designated Global Terrorist entity under section 1(b)
of Executive Order 13224 to add the alias Islamic State of Iraq and the Levant ("ISIL") as its
primary name. The Secretary also added the following aliases to the FTO listing: the Islamic
State ofIraq and ai-Sham (i.e., "ISIS" - which is how the FTO will be referenced herein), the
Islamic State ofIraq and Syria, ad-Dawla al Islamiyya fi al-'Iraq wa-sh-Sham, Daesh, Dawla al
Islamiya, and AI-Furqan Establishment for Media Production. On September 21,2015, the
Secretary added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date,
ISIS remains a designated FTO. On January 14,2016, the Secretary designated the Islamic
State's Khorasan Province (ISIS-K), an affiliate ofISIS located in Afghanistan and Pakistan, as a
Foreign Terrorist Organization.

         2 Similarly, on November    12,2018, Mr. Mohammadi completed and signed the Form N-
400 Application for Naturalization with the United States Department of Homeland Security.
For the question, "Have you EVER been a member of, or in any way associated (either directly
or indirectly) with a terrorist organization," Mr. Mohammadi answered, "No." Relatedly, on
April 26, 2019, Mr. Mohammadi completed the N-445 Notice of Naturalization Oath Ceremony
and for the question, "Since your interview, have you joined, become associated, or connected
with any organization in any way, including the Communist Party, a totalitarian organization, or
terrorist group," he answered, "No."


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have read the instructions and I understand that if I withhold, misrepresent, or falsify

information on this form I am subject to the penalties for inaccurate or false statement

(per u.s. Criminal Code, Title 18, section 1001), denial or revocation of a security

clearance, and/or removal and debarment from Federal Service." Mr. Mohammadi

answered, "Yes."

       4.      Information from Mr. Mohammadi's Facebook account from at least

January 2018, Mr. Mohammadi's statements to a confidential human source since the fall

of 2021, and Mr. Mohammadi' s statements to investigators this past week, establish that

answer to be false.

       5.      Because the answer to that question is critical to determining a security

clearance, Mr. Mohammadi's answer is material to the Department of Defense's decision

to contract with Mr. Mohammadi.3

       6.      In February 2019, the Afghanistan National Directorate of Security publicly

announced the arrest of someone for recruiting militants for ISIS-K and deploying them

to a specific province within Afghanistan. The identity of that person is known to me and

referred to as Individual #1. On March 13,2019, Mr. Mohammadi reposted a video on

his Facebook account that referenced this arrest of Individual # 1.

       7.      In July 2019, the Afghanistan National Directorate of Security publicly

announced the arrest of someone else for recruiting students to join ISIS-K and



       3 As part of the contract linguist application process, on June 17,2019, Mr. Mohammadi
completed an online screening interview form. For the question, "Are you now or have you
EVER been a member of any organization, associated with or contributed to any movement or
group that advocates the overthrow of the U.S. government," Mr. Mohammadi answered, "No."

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encouraging them to carry out terrorist attacks. The identity of that person is also known

to me and referred to as Individual #2. On July 24, 2019, Mr. Mohammadi reposted a

video on his Facebook account that referenced the arrests ofIndividual #1 and Individual

#2.

       8.      A review ofMr. Mohammadi's publicly available Facebook account

revealed a pattern of reposting videos featuring Individual # 1, Individual #2, and other

publicly identified members or recruiters for ISIS-K.

       9.      In direct messages on Mr. Mohammadi's Facebook account on January 24,

2018, he asked someone to obtain Individual #1 's telephone number. In response, that

individual provided two telephone numbers to Mr. Mohammidi for Individual # 1.

       10.     Through direct messages and audio messages on Mr. Mohammadi's

Facebook account in April and May 2018, Mr. Mohammadi directed that $400 sent via

Western Union should be given to Individual #1. Records obtained from Western Union

confirmed Mr. Mohammadi sent $2,000 from Lenexa, Kansas, on May 2, 2018, to the

person in Afghanistan with whom Mr. Mohammadi was communicating. The person in

Afghanistan confirmed to Mr. Mohammadi through Facebook that he gave the money to

Individual # 1.

       11.     On or about October 11,2019, the Department of Defense deployed Mr.

Mohammadi to Afghanistan as a contract linguist.

       12.     On or about November 10,2019, military personnel caught Mr.

Mohammadi as he attempted to sneak back onto the military base, as he left the base

without permission.

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       13.    During a conversation with a Confidential Human Source in the Fall of

2021, Mr. Mohammadi stated he knew ofIndividual        #2's arrest and detention in July

2019, so Mr. Mohammadi sought to facilitate Individual #2's release while deployed to

Afghanistan a couple of months later.

       14.    In a subsequent conversation with a Confidential Human Source, Mr.

Mohammadi stated he sent money to Individual #1 via Western Union.

       15.    During an interview with federal investigators this past week, Mr.

Mohammadi claimed to not personally know Individual # 1, but sometime in 2017 to

early 2018, Mr. Mohammadi      learned that Individual # 1 had been arrested for training and

teaching ISIS. Mr. Mohammadi also knew Individual #1 had been arrested several times

for affiliations with ISIS and terrorism.   Mr. Mohammadi denied ever providing financial

support to Individual # 1.




                                                   Ryan~
                                                   Special Agent
                                                   Federal Bureau of Investigation

       Sworn to and attested before me after having been transmitted by reliable

electronic means on this 15th day of October 2022, at Kansas City, Kansas.

                                                                              Type text here


                                                   HONORABLE TERESA J. JAMES
                                                   United States Magistrate Judge




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                                        PENALTIES

Count 1 [18 U.S.C. 1001(a)(2)]

   •   Punishable by a term of imprisonment of not more than five years.    18 U .S.C. §
       1001(a).

   •   A term of supervised release of not more than three years.   18 u.s.c. §
       3583(b)(2).

   •   A fine not to exceed $250,000.    18 U.S.C. § 3571(b)(3).

   •   A mandatory special assessment of$100.00.      18 U.S.c. § 3013(a)(2)(A).




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